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                             IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 IN RE:                                                     19-17496 MDC
 Milagros Ortiz
                                                  Debtor    Chapter 13 Proceeding
 PENNYMAC LOAN SERVICES, LLC
                                                  Movant
 v.
 Milagros Ortiz
 and William C. Miller, Esquire
                                             Respondents


                           MOTION OF PENNYMAC LOAN SERVICES, LLC
                            FOR RELIEF FROM THE AUTOMATIC STAY

        AND NOW, comes secured Creditor, PENNYMAC LOAN SERVICES, LLC(Movant) by and through
its counsel, POWERS KIRN, LLC, (Jill Manuel-Coughlin on behalf of the firm), hereby requests that the Court
grant it relief pursuant to 11 U.S.C. §362(d) from the automatic stay of 11 U.S.C. §362(a) due to lack of equity in
debtor' property and debtor' failure to provide Movant with adequate protection of its interest in the property
which is the basis of the creditor's security.
        1.        On or about December 2, 2019, Debtor filed a Chapter 13 Bankruptcy Petition.
        2.        The Debtor has executed and delivered or is otherwise obligated with respect to that certain
                  promissory note in the original principal amount of $61,928.00 (the “Note”). A copy of the Note
                  is attached hereto as EXHIBIT A. Movant is an entity entitled to enforce the Note.
        3.        On 04/30/2004, the debtor executed a Mortgage to Movant and/or Movant's assignor (recorded
                  05/07/2004 at ) and secured by the property located at 5017 Loretto Avenue, Philadelphia, PA
                  19124, referred to as the "Property" (EXHIBIT B). All rights and remedies under the Mortgage
                  have been assigned to the Movant pursuant to an assignment of mortgage (EXHIBIT C).
        4.        A copy of the Loan Modification recorded 7/23/2015 is attached hereto as EXHIBIT D.
        5.        As of 6/8/2020, the total owing to Movant is $158,757.49.
        6.        Per Debtor’s Schedule A/B, the approximate value of the property is $126,760.00 (EXHIBIT E).
        7.        As of 6/8/2020, the debtor is in arrears post petition for six (6) monthly payments, from 1/1/2020
                  through 6/1/2020 at $869.45 per month. The total post-petition arrearage is $5,216.70.
        8.        Pursuant to 11 U.S.C.A. section 362(d)(1) and (2), PENNYMAC LOAN SERVICES, LLC is not
                  adequately protected and will suffer irreparable injury, harm and damage if relief from the stay is
                  not granted.
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        WHEREFORE, Movant respectfully request the Honorable Court ORDER:
That Relief from the Automatic Stay be granted to PENNYMAC LOAN SERVICES, LLC to proceed with
foreclosure action to obtain all other Relief available under Non-Bankruptcy law. And that Bankruptcy Rule
4001(a)(3) is not applicable and Movant is allowed to immediately proceed with foreclosure and all other relief
available under the Non-Bankruptcy law. Furthermore, Movant respectfully requests that reasonable attorneys fees
and costs associated with this Motion be awarded to Movant.
                                                RESPECTFULLY SUBMITTED,
                                                POWERS KIRN, LLC

                                                By: /s/ Jill Manuel-Coughlin, Esquire
                                                Jill Manuel-Coughlin, Esquire
                                                ID# 63252
                                                Eight Neshaminy Interplex, Suite 215
                                                Trevose, PA 19053
                                                Telephone: 215-942-2090
                                                Attorney for Movant
                                                19-0336
Dated: June 15, 2020
